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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                  ABERDEEN DIVISION

LORETHA COTTON-THOMAS, Individually
and on Behalf of Other Similarly Situated Individuals                                    PLAINTIFF

vs.                                                            CAUSE NO. 3:20-CV-113-GHD-RP

VOLVO GROUP NORTH AMERICA, LLC                                                        DEFENDANT

                                  ORDER DISMISSING ACTION

         The Court has been advised by counsel that this action has been resolved or is in the process

of being resolved. Therefore, it is not necessary that the action remain upon the calendar of the

court.

         The Court ORDERS that the action is DISMISSED without prejudice. The Court retains

complete jurisdiction to vacate this order and to reopen the action upon cause shown that the

resolution of this matter has not been completed and further litigation is necessary.

                                 18th day of October, 2021.
         SO ORDERED, this, the ______



                                                 ___________________________________
                                                 SENIOR U.S. DISTRICT JUDGE
